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 1                               UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3 DARREN HEYMAN,                                             Case No.: 2:15-cv-01228-APG-DJA

 4           Plaintiff                                     Order Granting Plaintiff’s Emergency
                                                                 Motion to Postpone Trial
 5 v.

 6 STATE OF NEVADA EX REL. BOARD OF                                      [ECF No. 542]
   REGENTS OF THE NEVADA SYSTEM OF
 7 HIGHER EDUCATION ON BEHALF OF
   UNIVERSITY OF NEVADA, LAS VEGAS,
 8 et al.,

 9           Defendants

10          Plaintiff Darren Heyman moves to postpone the trial. ECF No. 542. Due to the

11 continuing COVID-19 pandemic, it will be extremely difficult, if not impossible, to convene a

12 jury trial during the current January 25, 2021 trial stack. It is not even clear whether this district

13 will resume jury trials by that date. To save the parties from unnecessarily preparing for trial, I

14 will postpone the trial at this time.

15          Heyman requests that I delay the trial until “such time as all proposed Nevada resident

16 witnesses are able to safely testify in person at the physical location of this Court.” Id. at 1. That

17 request is too vague to grant, as it is unclear when the pandemic will subside, when those

18 witnesses will be vaccinated (if at all), and what other scenarios would be considered safe for

19 witnesses to testify in person at trial. And, there is no constitutional or statutory right in a civil

20 case for witnesses to testify in person, rather than through a video connection. Therefore, I will

21 not set a new trial date based on that criteria. I will, however, set the trial date out a reasonable

22 length of time in hopes that the pandemic will have sufficiently subsided to permit most, if not

23 all, witnesses to testify in person. I will issue a separate order setting the new trial date. The
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 1 parties are encouraged to confer about accommodations for witnesses to testify remotely if

 2 necessary.

 3        I THEREFORE GRANT plaintiff Darren Heyman’s motion to postpone the trial in this

 4 case (ECF No. 542).

 5        DATED this 10th day of January, 2021.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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